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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

DAVID M. CLAPPER, Individually,               §
et al.,                                       §
                                              §
                             Plaintiffs,      §
                                              § Civil Action No. 3:14-CV-2970-D
VS.                                           §
                                              §
AMERICAN REALTY INVESTORS,                    §
INC., et al.,                                 §
                                              §
                             Defendants.      §

                                MEMORANDUM OPINION
                                    AND ORDER

       In this memorandum opinion and order,1 the court addresses the following motions

and objection to a magistrate judge order: (1) defendants’ September 12, 2018 motion to

amend the scheduling order and extend expert discovery;2 (2) plaintiffs’ October 8, 2018

objection to footnote 1 of the magistrate judge’s September 24, 2018 order; (3) plaintiffs’

October 10, 2018 motion to clarify or correct the court’s statement as to the operative

complaint in the court’s August 14, 2018 summary judgment ruling pursuant to Fed. R. Civ.

P. 60(a) or Fed. R. Civ. P. 54(b), or in the alternative, motion to file fifth amended complaint,


       1
         Under § 205(a)(5) of the E-Government Act of 2002 and the definition of “written
opinion” adopted by the Judicial Conference of the United States, this is a “written opinion[]
issued by the court” because it “sets forth a reasoned explanation for [the] court’s decision.”
It has been written, however, primarily for the parties, to decide issues presented in this case,
and not for publication in an official reporter, and should be understood accordingly.
       2
        This motion requests other relief, such as expedited briefing and an expedited ruling.
The court has declined to order expedited briefing, and it is deciding this motion under the
usual schedule contemplated by the local civil rules.
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or in the alternative, motion for entry of default; and (4) defendant Gene Phillips’

(“Phillips’”) October 10, 2018 motion to reconsider in part the court’s denial of his motion

for summary judgment in the August 14, 2018 memorandum opinion and order. Except as

pertinent to the decisions in this memorandum opinion and order, the court will not set out

the background facts and procedural history because they can be found in the court’s prior

opinions in this case.3

                                               I

       The court turns first to plaintiffs’ motion to clarify or correct the court’s statement as

to the operative complaint in the summary judgment ruling, or, in the alternative, motion to

file fifth amended complaint, or, in the alternative, for entry of default. This motion concerns

Atlantic XIII, LLC’s (“Atlantic XIII’s”) party status.




       3
        For the assistance of the parties and the successor judge, the court notes that the
following memorandum opinions and orders have been filed in this case and have been, or
can be, identified by the shorthand reference shown for each: Clapper v. American Realty
Investors, Inc., 2015 WL 264711 (N.D. Tex. Jan. 21, 2015) (Fitzwater, J.) (“Clapper I”);
Clapper v. American Realty Investors, Inc., 2015 WL 3504856 (N.D. Tex. June 3, 2015)
(Fitzwater, J.) (“Clapper II”); Clapper v. American Realty Investors, Inc., 2016 WL 302313
(N.D. Tex. Jan. 25, 2016) (Fitzwater, J.) (“Clapper III”); Clapper v. American Realty
Investors, Inc., 2017 WL 978098 (N.D. Tex. Mar. 14, 2017) (Fitzwater, J.) (“Clapper IV”);
Clapper v. American Realty Investors, Inc., 2018 WL 1083609 (N.D. Tex. Feb. 28, 2018)
(Fitzwater, J.) (“Clapper V”); Clapper v. American Realty Investors, Inc., 2018 WL 2739014
(N.D. Tex. June 6, 2018) (Fitzwater, J.) (“Clapper VI”); Clapper v. American Realty
Investors, Inc., 2018 WL 3769831 (N.D. Tex. Aug. 9, 2018) (Fitzwater, J.) (“Clapper VII”);
and Clapper v. American Realty Investors, Inc., 2018 WL 3868703 (N.D. Tex. Aug. 14,
2018) (Fitzwater, J.) (“Clapper VIII”).

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                                                A

       For the reasons that follow, the court grants plaintiffs’ alternative motion to file a fifth

amended complaint.

                                                1

       On December 5, 2017, when the court ordered that plaintiffs file an amended

complaint to properly allege the citizenship of certain parties, plaintiffs’ operative pleading

was their third amended complaint (“3AC”), filed March 24, 2017. When in response to the

court’s order plaintiffs filed their fourth amended complaint (“4AC”) on December 26, 2017,

they dropped Atlantic XIII as a plaintiff. When plaintiffs moved on December 27, 2017 to

confirm the court’s December 5, 2017 order, or, in the alternative, for leave to remove

plaintiff Atlantic XIII as a party in plaintiffs’ 4AC pursuant to Fed. R. Civ. P. 21, the court

denied the motion. In its order it stated that it did not intend by its December 5, 2017 order

to permit plaintiffs to remove a party; it intended to require that they properly plead the

citizenship of certain parties to this lawsuit so that the court could ensure that it had subject

matter jurisdiction based on complete diversity of citizenship. The court also stated that a

ruling on plaintiffs’ alternative motion for leave to remove Atlantic XIII as a party in

plaintiffs’ 4AC pursuant to Rule 21 would be made in due course, after receiving briefing

under the usual rules and time limits. Dec. 27, 2017 Order at 1.

       The court never explicitly addressed plaintiffs’ alternative motion, however, due to

the course that the litigation took thereafter. On February 28, 2018 the court granted

defendants’ motions to dismiss for lack of subject matter jurisdiction. See Clapper v. Am.

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Realty Inv’rs, Inc., 2018 WL 1083609, at *5 (N.D. Tex. Feb. 28, 2018) (Fitzwater, J.)

(“Clapper V”).4 Because the case had been pending since August 19, 2014, however, the

court gave plaintiffs an opportunity to move for any available relief that would enable the

court to exercise subject matter jurisdiction, including demonstrating sufficient grounds for

the exercise of supplemental jurisdiction under 28 U.S.C. § 1367(a). Id. at *6.

       On March 21, 2018 plaintiffs filed a motion for leave to file a fifth amended complaint

(“5AC”), or, in the alternative, to remove Atlantic XIII and Atlantic Midwest, LLC as parties

in plaintiffs’ 5AC pursuant to Rule 21. When on June 6, 2018 the court issued its decision

in Clapper VI concluding that it would exercise supplemental jurisdiction, it denied that

motion without prejudice. Clapper v. Am. Realty Inv’rs, Inc., 2018 WL 2739014, at *5 (N.D.

Tex. June 6, 2018) (Fitzwater, J.) (“Clapper VI”). Although the court did not elaborate on

its reasoning for doing so, its intent is reflected in the following introductory statement in

Clapper VI: “Concluding in its discretion that it should exercise supplemental jurisdiction

under 28 U.S.C. § 1367(a), the court denies plaintiffs’ motion for leave to file a fifth

amended complaint and their motion to remove the Atlantic entities from the lawsuit.” Id.

at *1. In other words, the court was expressing the view that, because it had decided to

exercise supplemental jurisdiction over the case as it stood—with non-diverse parties—it saw

no need for plaintiffs to file a 5AC or to remove the Atlantic entities from the lawsuit.

       When the court in Clapper VIII referred to the 4AC as the operative complaint, it did


       4
      In Clapper VI the court inadvertently referred to Clapper V as Clapper IV. See, e.g.,
Clapper VI, 2018 WL 2739014, at *1.

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not, as plaintiffs now maintain, do so mistakenly or erroneously. The 4AC was plaintiffs’

operative complaint at that time, as it is now. But the effect of denying in Clapper VI

plaintiffs’ motion for leave to file the 5AC was to retain the 4AC in place. And leaving the

4AC in place as the operative pleading was ultimately incongruent with the court’s intention

to exercise supplemental jurisdiction despite the presence of all the parties who were

plaintiffs at the time the 3AC was filed. That the court contemplated that these same three

plaintiffs would continue to prosecute this case is apparent from the very first sentence of the

court’s opinion in Clapper VIII, in which it treated Atlantic XIII as one of the three plaintiffs:

“This is an action by plaintiffs David M. Clapper (‘Clapper’), Atlantic Midwest, LLC

(‘Atlantic Midwest’), and Atlantic XIII, LLC (‘Atlantic XIII’) against defendants . . . seeking

to collect a multi-million judgment based on state-law claims for fraudulent transfer, unjust

enrichment/constructive trust, and alter ego.” Clapper VIII, 2018 WL 3868703, at *1

(emphasis added)). In sum, having decided to exercise supplemental jurisdiction despite the

presence of non-diverse parties, the court did not intend by its rulings to prevent Atlantic XIII

from participating as a plaintiff.

       Having explained why Atlantic XIII should be allowed to participate as a plaintiff, the

question becomes what relief should be granted in response to plaintiffs’ motion. The court

concludes that its opinion in Clapper VIII should not be clarified or corrected because the

opinion is correct insofar as relevant here: the 4AC was (and is) plaintiffs’ operative

complaint. But because Atlantic XIII was dropped as a plaintiff before the court decided that

it would exercise supplemental jurisdiction, and it is the court’s intention that all three

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plaintiffs named in the 3AC be allowed to participate as plaintiffs, the court concludes that

it should permit the filing of a 5AC that includes Atlantic XIII as a plaintiff. The court

therefore grants plaintiffs’ alternative motion to file a fifth amended complaint. See, e.g., Ps.

Mot. to Clarify or Correct at 15 (“In the alternative, if this Court determines that the 4AC is

currently the operative complaint in this matter, Plaintiffs seek leave to file a Fifth Amended

Complaint to ensure that Atlantic XIII continues to remain a party in this litigation.”); see

also id. at 9 (“Plaintiffs respectfully request that this Court confirm that the operative

complaint in this matter is the 3AC, or, in the alternative, permit Plaintiffs to file a Fifth

Amended Complaint, including Atlantic XIII as a party.”). The 5AC must be filed within

21 days of the date this memorandum opinion and order is filed.

                                                2

       In their motion to clarify or correct, plaintiffs request that the court “permit Plaintiffs

to file their proposed Fifth Amended Complaint, which is identical to the 3AC and is

attached to this Motion as Ex. 2.” Ps. Mot. to Clarify or Correct at 11. The court grants

plaintiffs leave to add Atlantic XIII as a plaintiff, but they may not include any claims that

have not been previously pleaded in plaintiffs’ complaint or in one of their amended

complaints, nor may they include any claims (or parts thereof) that the court has already

dismissed. See, e.g., Clapper VIII, 2018 WL 3868703 (granting in part motions to dismiss

and for summary judgment).




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       The court prospectively grants defendants leave to file responsive pleadings to the

5AC. See infra § V (addressing continuation of ban on filing prejudgment motions without

first moving for and obtaining leave of court).5

                                               B

       In their motion to clarify or correct, plaintiffs contend that defendants’ argument that

Atlantic Midwest does not plead claims on behalf of ART Midwest, L.P. (“ART Midwest”)

is contrary to this court’s and the Fifth Circuit’s rulings. This contention appears to be

advanced in response to defendants’ answers to the 4AC, which plaintiffs maintain

inexplicably argue that Atlantic Midwest has never pleaded that it was suing defendants for

and/or on behalf of ART Midwest. Plaintiffs maintain that defendants’ persistence in making

this argument is “improper and sanctionable.” Ps. Mot. to Clarify or Correct at 12.

       In defendants’ response to plaintiffs’ motion, they devote most of their attention to

this argument.6 Among the arguments they offer are the contentions that plaintiffs’

complaints, including the 4AC, fail to satisfy Rule 8, or, alternatively, that any alleged



       5
        Because responsive pleadings include motions, the court clarifies that motions, as
well as answers, may be filed.
       6
        At one point in defendants’ response, they request leave to file motions related to this
dispute. See D. Resp. to Mot. to Clarify or Correct at 2-3 (“Defendants request leave to file
Motions to Dismiss, to Strike, to Clarify/Correct and/or for Summary Judgment, under
regular briefing rules, against any claims NOW alleged by Atlantic Midwest in this case to
seek the recovery of Partnership damages.”). Such requests must be made by separate
motion for leave rather than as a sentence within a response brief.



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partnership claim should be dismissed because Atlantic Midwest has failed to comply with

Rule 17(a).

       The bulk of plaintiffs’ reply brief is devoted to the question whether Atlantic Midwest

can recover on behalf of ART Midwest, and to defendants’ Rule 8 and Rule17(a) challenges,

rather than to the question whether the court should clarify or correct its references in

Clapper VIII to the 4AC as the operative complaint.

       Despite the extensive briefing on this issue in defendants’ response brief and

plaintiffs’ reply brief, the court cannot adequately connect this part of plaintiffs’ motion to

their request to clarify or correct the 4AC references. If anything, this argument appears to

serve as the predicate for what follows in plaintiffs’ motion: an alternative request that the

court enter a default against all defendants for their failure to answer the allegations

regarding Atlantic Midwest’s claims on behalf of ART Midwest. The court’s understanding

of the purpose for this argument appears to be confirmed by plaintiffs’ reply brief. See Ps.

Mot. to Clarify or Correct Reply Br. at 20.7

       7
        Plaintiffs argue in this respect:

              Finally, Plaintiffs’ Motion argued that this Court should enter a
              default in favor of Atlantic Midwest for Defendants’ intentional
              failure to answer the allegations that assert a cause of action for
              Atlantic Midwest’s claim on behalf of the Partnership.
              Plaintiffs’ Motion argued that this Court should view
              Defendants’ intentional failure to respond to allegations
              regarding Atlantic Midwest on behalf of the Partnership as a
              willful default. Defendants’ Response, instead of addressing this



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       The court declines to enter a default for at least two reasons: first, this request is made

in the alternative and lacks a sufficient connection to the principal request to clarify or

correct, which relates to Atlantic XIII’s party status and which the court is addressing by

allowing a 5AC that adds Atlantic XIII as a plaintiff; and, second, plaintiffs’ arguments are

tied to the contents of defendants’ answers, but defendants will be entitled to file new

responsive pleadings after the 5AC is filed.8

       As for defendants’ contentions concerning deficiencies in plaintiffs’ complaint and

their challenges based on Rules 8 and 17(a), the court declines to address these arguments

in the context of an alternative request for relief included in a motion to clarify or correct.


               argument, in a slight of hand, argues that Defendants did not
               intentionally fail to file an answer to claims asserted by Atlantic
               XIII. Defendants’ Response intentionally does not respond to
               Plaintiffs’ argument regarding the willful default of Defendants’
               failure to respond to allegations regarding Atlantic Midwest. As
               a result, this Court should enter a default for failure to answer
               the allegations in the 4AC regarding Atlantic Midwest’s claims
               on behalf of the Partnership.

Ps. Mot. to Clarify or Correct Reply Br. at 20
       8
         In addition to their “failure to answer” predicate for entering a default, plaintiffs also
request that the court enter a default as a sanction. See Ps. Mot. to Clarify or Correct at 16
(asserting that because defendants have intentionally ignored the courts’ prior rulings, have
continued to insist that Atlantic Midwest has not pleaded that it is enforcing claims on behalf
of ART Midwest, and have insisted on relitigating this issue, defendants should be defaulted
and sanctioned). Even if the court assumes that plaintiffs can move for sanctions without
first obtaining leave, the court declines to address this request because plaintiffs have not
sufficiently developed it (they have not, for example, stated whether they are relying on the
court’s inherent power, Rule 11, or some other authority).



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Moreover, because the court is granting plaintiffs leave to file a 5AC, and defendants will

be able to file responsive pleadings, defendants can raise arguments by motion or other

pleading that is procedurally proper.

         Accordingly, despite the extensive briefing, the court declines to address this dispute

in the context of plaintiffs’ motion to correct or clarify.

                                                II

         The court turns next to plaintiffs’ October 8, 2018 objection to footnote 1 of the

magistrate judge’s September 24, 2018 order, and it overrules the objection as moot.

         In footnote 1 the magistrate judge stated: “To the extent Atlantic XIII, LLC joined in

bringing the Motions for Protective Order, Plaintiffs have nonsuited and dismissed all claims

by Atlantic XIII, LLC, and Atlantic XIII, LLC is no longer a party Plaintiff to this action.”

Sept. 24, 2018 Order at 1 n.1. For the reasons the court explains above, see supra § I(A)(1),

this statement was essentially correct when the magistrate judge wrote her order. But

considering that plaintiffs have been granted leave to file a 5AC that includes Atlantic XIII

as a plaintiff, the objection to the footnote is now moot, and it is therefore overruled on that

basis.




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                                             III

       Defendant Phillips moves the court to reconsider in part its decision in Clapper VIII

denying his motion for summary judgment as it relates to whether he can be held liable under

Nevada law as the alter ego of American Realty Investors, Inc. (“ARI”) or EQK Holdings,

Inc. (“EQK”).

                                              A

       Phillips advances two arguments in support of his motion: first, under Nevada law,

a reasonable jury could not find that Phillips is the alter ego of ARI or EQK because it could

not find that he was at any relevant time a stockholder, director, or officer of ARI or EQK;

and, second, if he could be the alter ego of ARI or EQK, the evidence the court cited in

Clapper VIII would not enable a reasonable jury to find that he is the alter ego of either.

                                              B

       “Because the court’s interlocutory . . . decision did not result in a final judgment,

[Rule] 54(b) governs whether the court reconsiders its ruling.” SEC v. Cuban, 2013 WL

1091233, at *2 (N.D. Tex. Mar. 15, 2013) (Fitzwater, C.J.) (citing Dos Santos v. Bell

Helicopter Textron, Inc., 651 F.Supp.2d 550, 553 (N.D. Tex. 2009) (Means, J.) (addressing

discovery ruling)). The court “possesses the inherent procedural power to reconsider,

rescind, or modify an interlocutory order for cause seen by it to be sufficient.” Colli v. S.

Methodist Univ., 2011 WL 3524403, at *1 (N.D. Tex. Feb. 14, 2011) (Solis, J.) (quoting




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Melancon v. Texaco, Inc., 659 F.2d 551, 553 (5th Cir. 1981)) (internal quotation marks

omitted). “Such a motion requires the court to determine ‘whether reconsideration is

necessary under the relevant circumstances.’” Brown v. Wichita Cty., Tex., 2011 WL

1562567, at *2 (N.D. Tex. Apr. 26, 2011) (O’Connor, J.) (quoting Judicial Watch v. Dep’t

of the Army, 466 F.Supp.2d 112, 123 (D.D.C. 2006)).

                                              C

                                               1

       The court declines to hold that only a stockholder, director, or officer of a corporation

can be subjected to alter ego liability under Nevada law.

       Phillips relies on a Nevada statute (Nev. Rev. Stat. Ann. § 78.747), the legislative

history of that statute, and Nevada federal- and state-court cases to contend that alter ego

liability under Nevada law is confined to corporate stockholders, directors, or officers.

       Section 78.747, entitled “Liability of stockholder, director or officer for debt or

liability of corporation,” provides:

              1. Except as otherwise provided by specific statute, no
              stockholder, director or officer of a corporation is individually
              liable for a debt or liability of the corporation, unless the
              stockholder, director or officer acts as the alter ego of the
              corporation.
              2. A stockholder, director or officer acts as the alter ego of a
              corporation if:
                     (a) The corporation is influenced and governed by
                     the stockholder, director or officer;
                     (b) There is such unity of interest and ownership




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                      that the corporation and the stockholder, director
                      or officer are inseparable from each other; and
                      (c) Adherence to the corporate fiction of a
                      separate entity would sanction fraud or promote a
                      manifest injustice.
              3. The question of whether a stockholder, director or officer
              acts as the alter ego of a corporation must be determined by the
              court as a matter of law.

Nev. Rev. Stat. Ann. § 78.747.

       On its face, this statute can reasonably be interpreted to limit individual liability of

corporate stockholders, directors, or officers for a debt or liability of a corporation only to

alter ego liability, except as otherwise provided by specific statute. See Phillips v. Carlton

Energy Grp., LLC, 475 S.W.3d 265, 284 (Tex. 2015) (“On its face, the statute does nothing

more than confine shareholder, director, and officer liability for corporate debts to the

common law alter ego doctrine . . . .”). This is different from construing the statute as

limiting alter ego liability for corporate debts or liabilities only to corporate shareholders,

directors, and officers. See id. at 284-85 (“The statute would preclude a common law

expansion of the doctrine as applied to corporate shareholders, directors, and officers. The

statute says nothing about other persons’ common law alter ego liability.”).

       Phillips’ reliance on legislative history is also insufficient. When the Supreme Court

of Nevada “review[s] a statute, [it] look[s] first to the language of the statute and, if the

language is plain and unambiguous, [it] give[s] effect to that language and do[es] not look

beyond it.” Montage Mktg., LLC v. Washoe Cty. ex rel. Washoe Cty. Bd. of Equalization,




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419 P.3d 129, 133 (Nev. 2018). “Otherwise [it] will look to legislative history and rules of

construction to determine the meaning of the statute.” Id. Because the language of Nev.

Rev. Stat. Ann. § 78.747 can be viewed as plain and unambiguous, the legislative history

should not be consulted.

       Nor do the federal- and state-court cases on which Phillips relies establish that only

a stockholder, director, or officer of a corporation can be subjected to alter ego liability under

Nevada law. To be sure, each of the cases cited by plaintiffs and Phillips involves a

stockholder, director, or officer, and some cases describe the statutory alter ego liability as

applying to stockholders, directors, or officers. But so far as the court can determine, no

cited Nevada case definitively answers the question either way because no case addresses the

question whether only a stockholder, director, or officer of a corporation can be subjected to

alter ego liability under Nevada law.

       Although not binding on this court (or in Nevada), the unanimous decision of the

Supreme Court of Texas in Phillips, authored by Chief Justice Hecht, actually does address

this question. See Phillips, 475 S.W.3d at 284 (“CabelTel and Syntek West contend that

Section 78.747, by prescribing the requirements for alter ego liability of a shareholder,

director, or officer for a corporate debt, preempts alter ego liability for any other person

under Nevada common law. Therefore, they argue, because they were not shareholders in

EurEnergy, they cannot be liable as its alter egos.”). The Phillips court persuasively explains




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why alter ego liability can still be imposed under Nevada common law on someone other

than a shareholder, director, or officer. See id. at 284-85; see also id. at 285 (“Nevada

common law does not limit alter ego liability to shareholders, officers, and directors.”).

       Accordingly, while subsequent developments in Nevada law may confirm Phillips’

position, the court is unable to grant summary judgment at this time based on Phillips’

contention that one must be a stockholder, director, or officer of a corporation in order to be

subjected to alter ego liability.

                                              2

       Nor does Phillips’ second argument warrant reconsideration of the court’s summary

judgment ruling. As the court noted in Clapper VIII, “[w]hen this court denies rather than

grants summary judgment, it typically does not set out in detail the evidence that creates a

genuine issue of material fact.” Clapper VIII, 2018 WL 3868703, at *16 n.50 (citing Valcho

v. Dall. Cty. Hosp. Dist., 658 F.Supp.2d 802, 812 n.8 (N.D. Tex. 2009) (Fitzwater, C.J.)).

In Clapper VIII the court discussed evidence that defeated Phillips’ argument that plaintiffs

had failed to show that he is an alter ego of ARI and EQK under Nevada law. See id. at *21-

22. Consistent with its typical practice, however, the court did not set out in detail all the

evidence that created a genuine issue of material fact. But the court did view the summary

judgment record favorably to plaintiffs as the nonmovants, and draw all reasonable

inferences in their favor, as it was obligated to do. See, e.g., Owens v. Mercedes-Benz USA,




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LLC, 541 F.Supp.2d 869, 870 n.1 (N.D. Tex. 2008) (Fitzwater, C.J.) (citing U.S. Bank Nat’l

Ass’n v. Safeguard Ins. Co., 422 F.Supp.2d 698, 701 n.2 (N.D. Tex. 2006) (Fitzwater, J.)).

And in doing so, it concluded that summary judgment was not warranted. Accordingly, the

court adheres to its conclusion that Phillips is not entitled to summary judgment on this basis.

       The court therefore denies Phillips’ motion to reconsider.

                                              IV

       Finally, the court turns to defendants’ September 12, 2018 motion to amend the

scheduling order and extend expert discovery. The court denies the motion without

prejudice.

       The undersigned has taken senior status and is today requesting that this case be

reassigned to a judge who is accepting the assignment of civil cases in the Dallas Division.9

The successor judge should be able to exercise complete discretion concerning all aspects

of scheduling in this case, including, if warranted, with respect to any ground for amending

the scheduling order contained in defendants’ motion.

       Accordingly, the court denies without prejudice defendants’ motion to amend the

scheduling order and extend expert discovery.




       9
         To the extent the court’s electronic case filing system reflects such a reassignment
as a recusal, the undersigned notes that this reassignment is being made at his request, and
is the result of having taken senior status. He is not recused on any basis from hearing this
case.



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                                               V

       In Clapper V the court stated that, with a specific exception that pertained to that

opinion alone, “no party may file any prejudgment motion of any kind in this civil action

without first moving for and obtaining leave of court.” Clapper V, 2018 WL 1083609, at *6.

In Clapper VI the court reiterated this restriction, stating that “[n]o motions may be filed in

this case without leave of court until the court lifts the ban on motions that it previously

imposed.” Clapper VI, 2018 WL 2739014, at *4. This ban remains in place unless and until

lifted or modified by the successor judge.

       SO ORDERED.

       November 16, 2018.



                                             _________________________________
                                             SIDNEY A. FITZWATER
                                             SENIOR JUDGE




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